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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                     BEAUMONT DIVISION

DEXZIUS ZSAVIERE HUNTER                          §

VS.                                              §                CIVIL ACTION NO. 1:20cv257

UNITED STATES OF AMERICA                         §

                  MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                     JUDGE’S REPORT AND RECOMMENDATION

        Petitioner Dexzius Zsaviere Hunter, an inmate at the United States Penitentiary in Beaumont,

Texas, proceeding pro se, brought this petition for writ of habeas corpus pursuant to 28 U.S.C.

§ 2241.

        The court heretofore referred this matter to the Honorable Keith F. Giblin, United States

Magistrate Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of

this court. The magistrate judge recommends petitioner’s motion to proceed in forma pauperis be

denied and petitioner be ordered to pay the $5.00 filing fee.

        The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record, pleadings and all available

evidence. No objections to the Report and Recommendation of United States Magistrate Judge were

filed by the parties.

                                            ORDER

        Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

and the report of the magistrate judge is ADOPTED. It is therefore,
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        ORDERED that petitioner’s motion to proceed in forma pauperis is DENIED. It is further

        ORDERED that petitioner shall, within thirty (30) days from the date of this order, pay the

$5.00 filing fee for this action. Petitioner’s failure to pay the filing fee as ordered may result in the

dismissal of this petition for want of prosecution pursuant to FED. R. CIV. P. 41(b).

                                         SIGNED this 18th day of September, 2020.




                                                                         ____________________________
                                                                         Michael J. Truncale
                                                                         United States District Judge




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